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 1                                                 The Honorable Benjamin H. Settle
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                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT TACOMA
 8
     STATE OF WASHINGTON,                   NO. 3:17-cv-05690-BHS
 9
                           Plaintiff,       STATE’S OPPOSITION TO
10                                          DEFENDANTS’ MOTION TO
          v.                                EXCLUDE TESTIMONY OF
11                                          STATE’S EXPERT DANIEL
     FRANCISCAN HEALTH SYSTEM d/b/a         KESSLER
12   CHI FRANCISCAN HEALTH;
     FRANCISCAN MEDICAL GROUP; THE
13   DOCTORS CLINIC, A PROFESSIONAL         NOTED: Friday, January 18, 2019
     CORPORATION; and WESTSOUND
14   ORTHOPAEDICS, P.S.,
15                         Defendants.
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       STATE’S OPPOSITION TO DEFENDANTS’                 ATTORNEY GENERAL OF WASHINGTON
                                                                   Antitrust Division
       MOTION TO EXCLUDE TESTIMONY OF                         800 Fifth Avenue, Suite 2000
       STATE’S EXPERT DANIEL KESSLER                            Seattle, WA 98104-3188
       NO. 3:17-CV-05690-BHS                                         (206) 464-7744
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 1                                      I.      INTRODUCTION
 2          Dr. Daniel Kessler earned his doctorate in economics from MIT in 1994 and his law

 3   degree from Stanford University in 1993. He is currently a professor at the Stanford School of

 4   Law and the Stanford Graduate School of Business. Dr. Kessler has written several peer-

 5   reviewed articles on health care economics and antitrust law. Dkt. 184, Ex. 3 at 207-16 (Kessler

 6   Curriculum Vitae). His general assignment in this case was to study the pro- and anticompetitive

 7   effects that are reasonably predictable from Franciscan Medical Group’s (FMG) acquisition of

 8   WestSound Orthopaedics, P.S. (WSO) and affiliation with The Doctors Clinic (TDC).

 9   Dr. Kessler concludes that empirical economic research (based on the consequences of

10   transactions similar to those challenged by the State) predicts that the WSO Transaction and the

11   TDC Affiliation will permanently increase the prices of FMG, TDC, and WSO for physician

12   services; increase the prices for outpatient and inpatient services; and decrease the quality of

13   inpatient hospital services. Dkt. 184, Ex. 3 at 165-206 (Kessler Primary Report), Dkt. 184, Ex.

14   4 at 232-66 (Kessler Rebuttal Report).

15          The Defendants’ motion to exclude Dr. Kessler relies almost exclusively on

16   mischaracterizing a portion of his testimony as a belated attempt by the State to assert a vertical

17   antitrust theory. However, the State makes no assertion that the WSO acquisition or the TDC

18   affiliation constitute independent vertical antitrust violations. Rather, the State alleges that (and

19   Dr. Kessler explains how) the anticompetitive effects of FMG’s horizontal agreements with

20   TDC/WSO are intertwined with the parties’ vertical relationships centered on CHI Franciscan’s

21   ownership of Harrison Medical Center (HMC)—the dominant hospital in the market. In

22   particular, control of referrals from TDC and WSO for inpatient hospital services and relocation

23   of outpatient surgeries to HMC from ASCs previously used by TDC and WSO are central

24   motivating benefits for FMG (because of its ownership by CHI Franciscan) to pursue the

25   horizontal agreements with its competitors.

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 1           Understanding how the ownership of FMG by CHI Franciscan makes the TDC affiliation
 2   and the WSO transaction even more anticompetitive than they otherwise would be if those
 3   agreements had only enhanced Defendants’ bargaining power in markets for physician services
 4   is central to understanding the full scope of the anticompetitive horizontal agreements challenged
 5   by the State. The State has no requirement to plead every anticompetitive effect of an agreement
 6   as an independent violation of antitrust law. The fact that the State has not pled vertical violations
 7   of antitrust laws is not a basis to exclude evidence that horizontal violations between FMG and
 8   TDC/WSO have adverse vertical effects directly linked to CHI Franciscan’s ownership and
 9   control of HMC.
10           Defendants seek a sweeping exclusion of all of Dr. Kessler’s opinions and testimony.
11   But they only present substantive argument on two narrow aspects of Dr. Kessler’s report:
12   (1) their mistargeted verticality argument; and (2) the uncontested point that expert witnesses
13   cannot offer legal conclusions. The Defendants present no arguments with supporting authorities
14   for excluding Dr. Kessler’s opinions on any of the other several topics presented in his expert
15   report. For example, they have nothing to say about Dr. Kessler’s testimony that the strategic
16   integration between CHI Franciscan/FMG and TDC is a consideration distinct from the
17   operational and financial integration. Similarly, they present no supported grounds for excluding
18   Dr. Kessler’s testimony on how established economic literature reasonably predicts the increased
19   costs flowing from the challenged transactions and why the increases are likely to be permanent.
20   The relief sought by the Defendants (complete exclusion of Dr. Kessler) would also bar Dr.
21   Kessler’s rebuttal opinions even though the Defendants never identify or reference a single
22   section of the rebuttal report they contend is improper. Dr. Kessler’s primary report and rebuttal
23   report reveal testimony commonly offered in an antitrust challenge. Dkt. 184, Ex. 3 at 165-206
24   (Kessler Primary Report), Ex. 4 at 232-66 (Kessler Rebuttal Report). The Defendants’ non-
25   specific and unsupported assertions of wholesale immateriality are too conclusory to support
26   exclusion of Dr. Kessler.

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 1            Similarly, the Defendants’ claim that Dr. Kessler’s testimony is cumulative of other
 2   testimony is simply another conclusory assertion. Defendants made no attempt to support their
 3   claim that another expert is providing the same testimony as Dr. Kessler, and they did not provide
 4   the Court anything that would allow it to compare Dr. Kessler’s testimony to the proposed
 5   testimony of the State’s other experts. Accordingly, there is no basis supported by this motion
 6   demonstrating what aspect of Dr. Kessler’s testimony, if any, is cumulative of any other expert.
 7            The Defendants’ motion to exclude Dr. Kessler should be denied for the reasons set forth
 8   below.
                                    II.     LAW AND ARGUMENT
 9
     A.       A Motion to Exclude Expert Testimony Must Be Based on More Than Conclusory
10            Assertions
11            The Supreme Court has noted that the Federal Rules of Evidence display a preference for
12   admissibility of expert testimony in the absence of a specific basis supported by points and
13   authorities for exclusion of an expert. Daubert v. Merrell Dow Pharm., 509 U.S. 579, 589 (1993).
14   Expert testimony should be admitted where it is reliable and helpful to the trier of fact. Primiano
15   v. Cook, 598 F.3d 558, 564 (9th Cir. 2010). The party offering expert testimony will bear the
16   burden of demonstrating admissibility of the testimony at trial, but a motion in limine striking
17   the testimony before trial should only be granted when the party moving to exclude the evidence
18   demonstrates that it is “clearly inadmissible on all potential grounds.” Ind. Ins. Co. v. Gen. Elec.
19   Co., 326 F. Supp. 2d 844, 846 (N.D. Ohio 2004).
20            The Defendants do not challenge Dr. Kessler’s qualifications as an expert economist nor
21   do they challenge his methodology in formulating his opinions. Here, the Defendants’ sweeping
22   request to exclude Dr. Kessler’s entire testimony rests on the assertion that his testimony is
23   unhelpful because it is immaterial and cumulative. As the moving party, the Defendants have an
24   obligation to provide the Court with a sufficient basis to determine what portions of Dr. Kessler’s
25   testimony are unhelpful due to being immaterial or being cumulative of other testimony. Weiss
26   v. La Suisse, Société D’Assurances Sur La Vie, 293 F. Supp. 2d 397, 407 (S.D.N.Y. 2003).

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 1   Motions in limine seeking exclusion of broad unspecific categories of evidence are disfavored.
 2   Sperberg v. Goodyear Tire & Rubber Co., 519 F.2d 708, 712 (6th Cir. 1975).
 3           The Defendants’ motion to exclude Dr. Kessler’s testimony as immaterial and
 4   cumulative is supported by nothing more than conclusory allegations. The Defendants have not
 5   provided an adequate basis supporting the exclusion of Dr. Kessler, which would require
 6   showing how each of his opinions replicates those offered by Plaintiff’s other experts—a
 7   showing that has not been made. The motion should be denied.
 8   B.     The Defendants Misapprehend the Point of Dr. Kessler’s Testimony on the Vertical
            Effects of the Horizontal Agreements between FMG and TDC/WSO
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            The overwhelming majority of the motion to exclude Dr. Kessler is devoted to prevailing
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     on a point that is neither made nor disputed by the State. The Defendants thoroughly brief and
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     belabor the point that the State has not pled a theory of vertical antitrust violations. The State
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     agrees, but neither the State nor Dr. Kessler make any assertion that the increased vertical
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     integration resulting from the challenged transactions constitute independent violations of the
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     Sherman Act, Clayton Act, or Washington’s Consumer Protection Act. Rather, the point of
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     Dr. Kessler’s testimony on this issue is that the full anticompetitive effects of the horizontal
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     agreements include the increased prices and reduced ancillary services that arise out of CHI
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     Franciscan’s control of HMC.
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            Well-established case law supports the completely unremarkable proposition that courts
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     undertaking an antitrust inquiry should evaluate the full scope of injuries regardless of whether
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     the injuries arise directly from the agreement or are an effect of the agreement. Brunswick Corp.
21
     v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977) (an antitrust injury “should reflect the
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     anticompetitive effect either of the violation or of anticompetitive acts made possible by the
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     violation”). Indeed, the Supreme Court has explained that classifying a particular restraint as
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 1   horizontal or vertical depends not on its effects, but on the agreement itself. See Bus. Elecs. Corp.
 2   v. Sharp Elecs. Corp., 485 U.S. 717, 730 n.4 (1988) (“[A] restraint is horizontal not because it
 3   has horizontal effects, but because it is the product of a horizontal agreement.”).
 4           Here, the challenged agreements are between horizontal competitors FMG and
 5   TDC/WSO. The State’s claims are thus properly plead as horizontal theories of liability
 6   regardless of the presence of anticompetitive effects caused by FMG’s relationship with CHI
 7   Franciscan and HMC. See Bus. Elecs. Corp., 485 U.S. at 730. The Defendants present no
 8   authority supporting their position that evidence of vertical effects of anticompetitive horizontal
 9   agreements is inadmissible unless the government also pleads a vertical theory of liability.
10   Indeed, such a rule would elevate form over substance to an absurd degree, requiring courts to
11   completely ignore many of the anticompetitive effects of problematic horizontal transactions
12   like the ones in this case. 1 The Defendants present no relevant authority due to their apparent
13   misapprehension of the point of Dr. Kessler’s testimony which is not to insert an independent
14   theory of vertical antitrust violations, but to explain the vertical effects of the horizontal restraints
15   arising from the agreements between FMG and TDC/WSO.
16           The Defendants’ motion to preclude Dr. Kessler from testifying about the vertical effects
17   of the challenged agreements should be denied.
18   C.      Dr. Kessler’s Opinions on the Effects of the Horizontal Restraints Are Based on
             Empirical Economic Research and Are Tied Directly to This Case by the
19           Defendants’ Documents
20           The court’s ultimate determination in an antitrust inquiry of whether an agreement is
21   anticompetitive and the scope of anticompetitive effects is commonly informed by expert
22   economists. Primiano, 598 F.3d at 564. As Dr. Kessler does in this case, economists inform the
23   court’s antitrust analysis by identifying and explaining the relevant facts that are observable and
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                Such a rule would also presumably be two-sided, precluding Defendants from arguing that horizontal
     anticompetitive effects are offset by vertical efficiencies, and vice versa. Indeed, the Defendants’ expert Dr. Wu
26   claims the transactions resulted in some vertical efficiencies. Dkt. 181 at ¶¶ 178, 191-92 (Wu Expert Report).

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 1   by making forecasts, on a more probable than not basis, on what accepted economic research
 2   predicts will happen in the future as a result of the challenged agreements.
 3          Dr. Kessler’s primary expert report and his rebuttal report include references to accepted
 4   economic research and literature. Dr. Kessler explains how the economic principles in those
 5   reports apply to this case and how those authorities contribute to his opinions. In particular, he
 6   explains how the price effects of the sort detailed in Dr. Capps’s report are consistent with those
 7   predicted by economic research, and (as the research indicates) likely to persist. Dkt. 184, Ex. 3
 8   at 196-205 (Kessler Primary Report). Expert reliance on established economic literature is
 9   commonly accepted as part of expert testimony. Leegin Creative Leather Prods., Inc. v. PSKS,
10   Inc., 551 U.S. 877, 890 (2007). So too is expert reliance on other experts’ analyses. The
11   Defendants cast aspersions on the volume of economic research relied upon by Dr. Kessler, as
12   well as his reliance on Dr. Capps’s work, but completely avoid even attempting to argue that
13   such reliance is improper under Fed. R. Evid. 703. In particular, Defendants fail to acknowledge
14   that Dr. Kessler undertook numerous quantitative analyses beyond those performed by other
15   experts (for example, the analyses underlying ¶ 71 of his primary report and ¶¶ 10-12 of his
16   rebuttal report (Dkt. 184, Ex. 3 at 198 (Kessler Primary Report), Ex. 4 at 238-39 (Kessler
17   Rebuttal Report)) and explained how these quantitative analyses (in some cases, based on
18   defendants’ own experts data) refuted defendants’ experts’ key opinions.
19          Finally, the Defendants’ assertion that Dr. Kessler’s opinions are “unmoored” from the
20   facts of this case ignores his careful citation to documents produced by the Defendants and the
21   extensive list of reliance materials filed with his reports. As explained by Dr. Kessler, the
22   anticompetitive restraints in this case are rooted in the various agreements executed amongst the
23   parties including the PSA, the MSA, and the ASA. Dkt. 184, Ex. 3 at 172-75 (Kessler Primary
24   Report). Each section of Dr. Kessler’s primary and rebuttal report cites the facts produced in
25   this case supporting his opinions. Dr. Kessler thoroughly documents the factual basis supporting
26   the vertical effects flowing directly from the horizontal agreements between FMG and

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 1   TDC/WSO. Dkt. 184, Ex. 3 at 199-202 (Kessler Primary Report). The evidence consists of
 2   dozens of the Defendants’ own documents and depositions of the Defendants’ employees. Dkt.
 3   184, Ex. 3 at 217-29 (Kessler Curriculum Vitae, App. A-B).
 4          The Defendants’ assertion that Dr. Kessler’s opinions are unmoored from the facts of the
 5   case are baseless and cannot be reconciled with his careful citation to the Defendants’ own
 6   documents and depositions.
 7   D.     Dr. Kessler’s Testimony Is Not Inadmissible Simply Because He References Legal
            Principles
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            Defendants seek to exclude broad swaths of Dr. Kessler’s opinion on the ground that
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     experts are not entitled to opine on conclusions of law. Dkt. 183 (Mot.) at 9-11. Defendants’
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     argument overshoots its mark. While Defendants are correct that expert testimony offering legal
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     opinions is unhelpful and improper, this does not foreclose any expert testimony that touches on
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     legal issues. Instead, an expert may reference legal terms and standards in providing expert
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     opinions, including testimony that embraces an ultimate issue of fact. Nationwide Transp. Fin.
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     v. Cass Info. Sys., Inc. 523 F.3d 1051, 1059 (9th Cir. 2008); In re ConAgra Foods, Inc., 302
15
     F.R.D. 537 (C.D. Cal. 2014). Microsoft Corp. v. Motorola, Inc., No. C10-1823JLR, 2013 WL
16
     4008822, at *12 (W.D. Wash. Aug. 5, 2013) (In complicated cases or cases dealing with concepts
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     less familiar to factfinders, however, expert testimony on ultimate issues can “be useful for
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     guiding the trier of fact through a complicated morass of obscure terms and concepts”). This is
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     precisely what Dr. Kessler does here. For example, Defendants complain about Dr. Kessler’s
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     conclusion that “the economic rationale for the single entity defense does not apply in this case,”
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     Dkt. 183 at 10, but this is an economic conclusion, not a legal one. The fact that Dr. Kessler
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     references a legal doctrine does not ipso facto make his testimony improper. Nationwide Transp.,
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     523 F.3d at 1059.
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            The State and Dr. Kessler both recognize that the decision to allow the single-entity
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     defense is ultimately a matter of law, but the purpose of Dr. Kessler’s testimony is to explain
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                                                        7               ATTORNEY GENERAL OF WASHINGTON
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 1   why an economist would describe the TDC affiliation as two independent past, present, and
 2   future competitors. Moreover, Defendants ignore that Dr. Kessler’s conclusion on this point is
 3   embedded in five paragraphs discussing and applying economic theories of the firm as a decision
 4   making unit to several specifics aspects of the TDC affiliation. Dkt. 184, Ex. 3 at 186-87 (Kessler
 5   Primary Report). None of this is in any sense a legal conclusion.
 6          Similarly, based on his experience as an economist, Dr. Kessler concluded that the lack
 7   of efficiency-enhancing integration here means that it would be appropriate for an economist to
 8   view this as cartel behavior, which the economic literature recognizes has no competitively
 9   redeeming value and is thus ripe for per se treatment. Dkt. 184, Ex. 3 at ¶¶ 38-40. Dr. Kessler
10   makes no legal conclusion about whether application of the per se rule is appropriate here. Id.
11   But Defendants simply ignore the patently admissible heart of Dr. Kessler’s testimony on this
12   point, which applies the complicated economic balancing underlying antitrust enforcement rules
13   to the facts of this case. Dkt. 184, Ex. 3 at 184-85. Finally, the Defendants seek to preclude
14   Dr. Kessler from explaining why, as a matter of economics, the TDC affiliation is not an output
15   contract. Dkt. 183 at 10. Whether a contract functions as an output contract is entirely an
16   appropriate subject for expert economic testimony. The legal relevance and the legal
17   consequences of a whether the contact is an output contract is a question appropriately left for
18   the Court, but it is appropriate for Dr. Kessler to use the term “output contract” and to explain
19   why the TDC affilation does not function and would not be classified as an output contract
20   according to economic principles.
21          At the trial, the State will not ask Dr. Kessler to opine on which legal rules are applicable
22   here, nor to otherwise give legal opinion testimony. To the extent Defendants are concerned
23   about policing the boundary of appropriate expert testimony, the Court can ably manage that
24   issue at trial. However, the Defendants overreach by trying to exclude entire topics of appropriate
25   testimony just because a few snippets of Dr. Kessler’s expert report might sound like legal
26   opinions.

                                                        8                ATTORNEY GENERAL OF WASHINGTON
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 1                                      III.   CONCLUSION
 2          For the foregoing reasons, Plaintiff State of Washington respectfully requests that this

 3   Court deny Defendants’ motion to exclude Dr. Daniel Kessler.

 4          DATED this 11th day of January 2019.

 5                                               ROBERT W. FERGUSON
 6                                               Attorney General

 7                                               /s/ Rene D. Tomisser
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 1                                  CERTIFICATE OF SERVICE
 2          I certify, under penalty of perjury under the laws of the state of Washington, that on this
 3   date I have caused a true and correct copy of the following document to be served on the
 4   following via CM/ECF:
 5
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18   Westsound Orthopaedics, P.S.

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25   Attorneys for Defendant The Doctors Clinic, a Professional Corporation

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 5
     Attorneys for Defendant WestSound Orthopaedics, P.S.
 6

 7         DATED this 11th day of January 2019, at Seattle, Washington.

 8
                                              /s/ Rene D. Tomisser
 9                                            RENE D. TOMISSER, WSBA No.17509
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                                                   11             ATTORNEY GENERAL OF WASHINGTON
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